                         Case 1:21-cr-00609-APM Document 1 Filed 09/29/21 Page 1 of 1
AO 91 (Rev. 08/09) Criminal Complaint


                                         UNITED STATES DISTRICT COURT
                                                                              for the
                                                                   District of Columbia

                   United States of America                                       )
                              v.                                                  )
                        JEREMY BROWN                                              )        Case No.
                                                                                  )
                                                                                  )
                                                                                  )
                              Defendant(s)


                                                               CRIMINAL COMPLAINT

          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                         January 6, 2021                        in the county of                                                   in the
                         District of                Columbia                 , the defendant(s) violated:

             Code Section                                                                      Offense Description
   86&   D  DQG   ZKLFK PDNHV LW D FULPH WR  NQRZLQJO\ HQWHU RU UHPDLQ LQ DQ\ UHVWULFWHG EXLOGLQJ RU JURXQGV ZLWKRXW ODZIXO DXWKRULW\ WR GR
  DQG  NQRZLQJO\ DQG ZLWK LQWHQW WR LPSHGH RU GLVUXSW WKH RUGHUO\ FRQGXFW RI *RYHUQPHQW EXVLQHVV RU RIILFLDO IXQFWLRQV HQJDJH LQ GLVRUGHUO\ RU GLVUXSWLYH
  FRQGXFW LQ RU ZLWKLQ VXFK SUR[LPLW\ WR DQ\ UHVWULFWHG EXLOGLQJ RU JURXQGV ZKHQ RU VR WKDW VXFK FRQGXFW LQ IDFW LPSHGHV RU GLVUXSWV WKH RUGHUO\ FRQGXFW RI
  *RYHUQPHQW EXVLQHVV RU RIILFLDO IXQFWLRQV




          This criminal complaint is based on these facts:
See attached Statement of Facts.




          u Continued on the attached sheet.



                                                                                                                    Complainant’s signature

                                                                                                              Katie Hill, Special Agent FBI
                                                                                                                     Printed name and title

Sworn to before me and signed in my presence.


Date:              09/29/2021
                                                                                                                        Judge’s signature

City and state:                            Washington, D.C.                                       Robin M. Meriweather, U.S. Magistrate Judge
                                                                                                                     Printed name and title
